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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

KHALID AHMED QASSIM,                                  )
                                                      )
                       Petitioner                     )
                                                      )
               v.                                     )      No. 1:04-cv-01194 (TFH)
                                                      )
DONALD J. TRUMP, et al.,                              )
                                                      )
                       Respondents.                   )
                                                      )


   PETITIONER’S SECOND CONSENT MOTION FOR EXTENSION OF TIME TO
    REPLY TO RESPONDENTS’ OPPOSITION TO PETITIONER’S MOTION TO
   MODIFY SECTION I OF THE CASE MANAGEMENT ORDER AS IT PERTAINS
                        TO PETITIONER’S CASE

       Petitioner Khalid Ahmed Qassim respectfully submits this request that he be permitted

until Friday, October 18, 2019 to reply to Respondents’ Opposition to Petitioner’s Motion to

Modify Section I of the Case Management Order as it Pertains to Petitioner’s Case. ECF No.

1166 (“Respondents’ Opposition”); see also ECF No. 1162 (“Petitioner’s Motion”). In

accordance with Local Rule 7(m), Petitioner conferred with counsel for Respondents regarding

the relief requested herein. Respondents’ counsel consented to the requested extension.

       After obtaining an extension until September 30, 2019 to reply to Respondents’

Opposition, see ECF No. 1167, Petitioner’s lead counsel, Thomas Wilner, learned that his

immediate work and travel schedule will be significantly more onerous than expected, including

work-related travel outside the United States. Respondents’ Opposition was forty-five pages in

length—almost four times the length of Petitioner’s brief in support of his original motion—and

included a multitude of legal and factual arguments that touch on many disparate topics,

including constitutional issues, evidentiary issues, and factual and procedural issues.
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       Absent a second extension, Petitioner’s reply would be due on Monday, September 30,

2019. Petitioner and his counsel will need additional time to adequately address Respondents’

arguments and representations regarding the facts and procedural history of this case.

       For the reasons discussed herein, the Court should permit Petitioner until October 18,

2019 to submit his reply to Respondents’ Opposition.



                                                  Respectfully Submitted,
 Dated: September 24, 2019
                                                  /s/ Neil H. Koslowe
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                         Counsel for Petitioner Khalid Ahmed Qassim
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                                CERTIFICATE OF SERVICE

       I hereby certify that, on September 24, 2019, I caused the foregoing to be filed

electronically with the Court’s CM/ECF system, which will automatically send notice of such

filing to all registered CM/ECF users.



                              /s/ Neil H. Koslowe
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